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                 FILED'24 MAY 7 12:52USDC-ORH
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7                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
8                                   MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
10                                                      Civil Action No. 1:24-cv-00648-AA
     ARNAUD l'AJµS,
11                                                      PETITIONER'S EMERGENCY
                                  Petitioner,           MOTION FOR UNSUPERVISED
12   and                                                AND DIRECT COMMUNICATION
13                                                      WITHFATHER
     HEIDI MARIE BROWN,
14                                                      OTE ON MOTION CALENDAR:
                                  Respondent.             'EDITED HEARING R'E UESTED
15

16

17          Mother just committed a child abduction in the middle of the school year in France

18   and she is now refusing to disclose where the children are currently in the US or to let
19
     proper communication happen between Father and the children without supervision.
20
            The petitioner, Father, Arnaud Paris, moves for an order permitting his visitation
21
     and/or unsupervised communication with the parties' children during this Hague Action and
22

23
     for this Honorable Court to ensure that Mother isn't manipulating the children, alienating

24   them against their Father and adding further strong psychological trauma onto them iI1
25
     •EMERGENCY MOTION FOR UNSUPERVISED AND
      DIRECT COMMUNICATION WITH FATHER-
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1
     continuation to the abduction she just conducted from France taking our children on a
2

3    fugitive escape run from Europe avoiding border controls. Here are the recent facts

4    supporting that request:

5           1.     On April 18th at 7.24pm PST Mother was in a car with the children and called
6
     Father on the car speaker from a hidden number that's not her lmown number. Considering
7
     the time difference, it was 4.24am in France. The children were in the back of the car while
8
     Mother was front row to this discussion on car speaker as well. See attached Exhibit 04,
9

10   showing the time Mother called in France on April 18th at 4.24am (France uses military

11   time) from an unlmown number ("Numero masque" in French).
12
            2.     Over the short 2mn phone communication of which only 15 seconds were
13
     really communication between Father and his children, Eva and Juliette said twice: "Dad
14
     you have to do what mum says or she will get angry!". Which indicates that the children are
15

16   under some strong intimidation or even possibly a mental state of terror as a result from the

17   abduction. This also shows signs of parental alienation against Father on the part of Mother

18   who has documented history of using psychological pressure onto her children.
19
            3.     During this short phone call, Father asked if the children·were safe and where
20
     they were since Father had had no news from Mother about the whereabouts of his children
21
     since they were kidnapped from France, except that they were back in the US. Mother
22

23   literally hang up the phone on Father in the middle of the discussion because of that.

24          4.     It is to be noted that Father had always been establishing proper contact in
25
      EMERGENCY MOTION FOR UNSUPERVISED AND
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1
     France between the children and their Mother, organizing calls several times a week and
2

3    always at decent hours for Mother being on the West Coast of the US. Father has always let

4    the communication from France happen in video with children being unsupervised. See
5    attached Exhibit 10, testimony made on under oath French form from Keira Sumner, the
6
     American AuPair who had been helping taking care of the children in Paris since November
7
     23th till Mother kidnapped the children on April 8th •
8
            5.     On April 17h Mother sent an email to Father saying that she now gets to
9

10   choose the day she has the kids talk to Father per her local Oregon judgment. A judgment

11   that was obtained in total contradiction to the French judgment that was first to file and first
12
     to judgment in France, and that Mother obtained also without Father having been allowed to
13
     defend himself. In this email Mother says to Father about the communication with the
14
     children:
15

16          "The days for the calls are at my discretion - see page 19 ofthe attached. Per the

17          court order they would be between 6pm and 8pm. As I said in my last email, we will

18          attempt to call you today and tomorrow evening. ifyou are unable to make that time
19
            work, please let me know. "
20
     (See attached Exhibit 02, email sent by Miss Brown to Mr. Paris on April l 7l'.)
21
     Mother justified in this email that she can call Father in the middle of the night because
22
23   that's what her Oregon judgment was saying. Mother knew very well that Father is living in

24   France and that the 6-8pm time from her judgment would be in the middle of the night in
25
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1
     France and yet she makes no effort to have the communication to happen at decent hours.
2

3    She easily could have organized these calls to be in the morning Oregon time which is

4    evening time in France.

5            6.     Mother also said in her email from April 17th to Father that she could also
6
     decide what day she would have children call Father. Which means that Mother could wake
7
     up Father or keep him up in the middle of the night any day she wants for him to be awake
8
     to have a chance to speak with his children.
9

10           7.    Father sent an email on April 26th asking Mother to establish proper direct

11   communication between him and the children at decent French hours on video calls without
12   supervision. (See attached Exhibit 05, email sent to Miss Brown by Mr. Paris on April
13
     26th)
14
             8.    Mother didn't respond nor did she implement any proper communication
15

16   between Father and the children after that email, she continued with middle of the night

17   French time bad faith attempts to call father while he's asleep. (See attached Exhibit 06,

18   screenshot from Father's phone showing that Mother tried calling him in the middle of the
19
     night in France on April 28th at 4.33am and 4.34am)
20
             9.    Father sent another email on May 1st asking Mother to establish proper direct
21
     communication between him and the children at decent French hours on video calls and
22

23   without supervision from Mother. (See attached Exhibit 07, email sent to Miss Brown by

24   Mr. Paris on May 1st)
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 1
              10.    Mother didn't respond nor did she implement any proper communication
 2

 3
       between Father and the children after that email. As can be seen in the attached Exhibit 08,

 4     email sent to Miss Brown by Mr. Paris on May 3n1.

 5            11.     Mother didn't respond nor did she implement any proper communication
 6
       between Father and the children after that email, she continued with middle of the night
 7
       French time bad faith attempts to call father while he's asleep. (See attached Exhibit 09,
 8
       screenshot from Father's phone showing that Mother tried calling him in the middle of the
 9

 10    night in France on May 6th at 3.10am and 3.12am)

, 11          12.    Mother has repeatedly done calls in the middle of the French night even after
 12
       Father sent numerous email asking for proper communication between him and the children
 13
       to be done by video facetime, in private without any supervision from Mother.
 14
              13.    It is now clear that Mother is using an Oregon judgment, that was obtained
 15

 16    without due process and in bad faith while she was already participating in the French

 17    custody action, to damage the communication between the children and their Father. For

 18    that reason, it is crucial that this Honorable Court set aside that judgment from December
 19
       28 th which is giving the possibility to Mother to force a of dictatorial relationship onto
 20
       Father and sever the link between Father and the children while he was their only custodial
 21
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 22

 23           14.     The judgment in question doesn't have to be given full faith and credit by this

 24    Honorable Court because it was obtained without due process and was in complete violation
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        DIRECT COMMUNICATION WITH FATHER-
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     of Father's constitutional rights, especially when a Hague Action on the kidnapping of these
2

3    very same children by Mother just happened from France and is in front of this Honorable

4    Court. See attached Exhibit 03, the email sent Father's US attorney explaining how he was

5    forbidden to participate and represent Father in the Oregon court. This behavior from the
6
     Oregon court to not give due process to a party to be defended is highly unconstitutional and
7
     constitutes a breach of Father's civil rights. This was recently confirmed by the Oregon
8
     Appellate Court decision in the Appeal Case number Al 81544. See attached Exhibit 01.
9

10          15.    More importantly, as part of the Oregon proceedings done without due

11   process that granted Mother that judgment from December 28 th 2023, Mother obtained from
12
     the Judge a warrant for Father's arrest in all states just because Father was in France under
13
     his French judgment refusing to present himself in person to the court and return children
14
     that the Judge considered were kept 'hostages'; children hostages to a French judgment filed
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16   first and obtained first in France with full due process to Mother who was represented by a

17   French lawyer and who and made pleadings on the merit to obtain custody of her children in
18
     Oregon...
19
            16.    Mother knew at that time that she was going to commit a kidnapping and that
20
     she could as a result ensure that Father would not be able to see his children again since he
21

22   couldn't come back to the US due to that warrant for his arrest. This is another example of

23   how Mother is implementing her plan to sever permanently the link between Father and the

24   children.
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            17.    For all these reasons it is crucial that the children don't become any further
2

3    victims of this situation and that they don't be influenced or manipulated by their mother

4    against Father and that a proper unsupervised and daily access be implemented to allow the

5    children to communicate with their Father. Preferably this daily connection to Father would
6
     have to happen in a place outside of Mother's home.
7

8
     LEGAL ARGUMENT:
9

10   This court has the legal authority to grant Mr. Paris access to/visitation and to have

11   unsupervised communication with the children.
12   22 USC§ 900l(a)(4) states in pertinent part as follows:
13
     "The Convention on the Civil Aspects ofInternational Child Abduction, done at The Hague
14
     on October 25, 1980, establishes legal rights and procedures for the
15

16   prompt return ofchildren who have been wrongfully removed or retained, as well

17   as for securing the exercise of visitation rights. (Emphasis added.)"

18   Additionally, 22 USC § 9004(a) states in pertinent part that:
19
     "Jnfartherance ofthe objectives ofarticle 7(b) and other provisions ofthe Convention, and
20
     subject to the provisions ofsubsection (b) ofthis section, any court exercisingjurisdiction of
21
     an action brought under section 9003(b) ofthis title may take or cause to be taken measures
22

23   under Federal or State law, as appropriate, to protect the well-being of the child

24   involved[} (Emphasis added.)"
25
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1
     Hague Convention Article 7(b) specifically provides for the fashioning of "provisional
2

3
     remedies" to protect a child or avoid prejudice to "interested parties" such as the petitioner

4    herein.

5    CONCLUSION AND PRAYER FOR RELIEF:
6
     For the foregoing reasons, Mr. Paris seeks entry of an expedited order granting him a
7
     direct line of communication with the children without Mother's supervision. Father
8
     remains ready and anxious to exercise continuous unsupervised communication with them
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10   prior to the conclusion of this matter and asks that they each be given an apple watch with

11   parental control under Father's supervision to ensure that Mother isn't interfering with that
12   communication and that a proper cell plan be activated by Mother on each of these watches
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2

3
                  DATED-this 6th day of May, 2024, in Paris, France

4                                                      Submitted by:
                                                                           Per
5

6

7
                                                       13 rue Ferdinand Duval
8                                                      75004 Paris, FRANCE
                                                       +33.6.88.28.36.41
9

10
                                         VERIFICATION
11
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
12
     of America that the foregoing is true and correct.
13
     SIGNED AND DATED this 6th day of May, 2024, in Paris, France.
14

15

16

17
                                        Arnaud Paris
18

19

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      EMERGENCY MOTION FOR UNSUPERVISED AND
      DIRECT COMMUNICATION WITH FATHER-
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1
2                           CERTIFICATE OF SERVICE
3       I hereby certify that I served the foregoing PETITIONER'S EMERGENCY MOTION FOR
        UNSUPERVISED AND DIRECT COMMUNICATION WITH FATHER on the following party:
4
                                             Heidi Marie Brown
5                                             2256 Abbott Ave
                                             Ashland, OR 97520
6                                          heidimparis@gmail.com
                                             Respondent, Pro Se
7
     By the following method or methods:
8
     _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
9    prepaid envelopes, addressed to the attomeys(s) as shown above, the last known office address of
     the attomey(s), and deposited with the United States Postal Service at Portland, Oregon on the date
10   set forth below.

11   j$_ by emailing full, true, and correct copies thereof to the pro se party at the email address
      shown above, which is the last known email address for the respondent on the date set forth below.
12
     _ _ by faxing full, true, and correct copies thereof to the attomey(s) at the fax number(s)
13   shown above, which Is the last known fax number for the attorney(s) office, on the date set forth
     below. The receiving fax machines were operating at the time of service and the transmission was
14   properly completed.

15   _ _ by selecting the individual(s) listed above as a service contact when preparing this electronic
     filing submission, thus causing the individual(s) to be served by means of the court's electronic filing
16   system.
17                 DATED this 6th day of May, 2024, in Paris, France.
18

19                    --·
     By: •
20   ARNAUD PARIS, Petitioner

21   ARNAUD PARIS
     13 rue Ferdinand Duval
22   75004, PAR!$, FRANCE
     Telephone: +33688283641
23   Email: aparis@sysmicfilms.com

24

25
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